Order filed, September 02, 2016.




                                       In The

                     Fourteenth Court of Appeals
                                   ____________

                               NO. 14-16-00528-CR
                                 ____________

                      JOSE MARIA PELAYO, Appellant

                                         V.

                       THE STATE OF TEXAS, Appellee


                 On Appeal from the Co Crim Ct at Law No 12
                            Harris County, Texas
                       Trial Court Cause No. 1932164


                                      ORDER

      The reporter’s record in this case was due August 22, 2016. See Tex. R.
App. P. 35.1. The court has not received a request to extend time for filing the
record. The record has not been filed with the court. Because the reporter’s record
has not been filed timely, we issue the following order.

      We order Laurie Buchanan, the official court reporter, to file the record in
this appeal within 30 days of the date of this order.

                                   PER CURIAM
